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     PLAINTIFFS’ FIRST SET OF WRITTEN
          DISCOVERY REQUESTS
                           EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION
                                      2:25-cv-2152


The Sustainability Institute, et al.,

                                Plaintiffs,

v.
                                                       PLAINTIFFS’ FIRST SET
DONALD J. TRUMP, in his official capacity              OF WRITTEN DISCOVERY
                                                       REQUESTS
as President of the United States, et al.,

                                Defendants.



         Pursuant to Federal Rules of Civil Procedure 26, 33, 34, and 36 and the Local Rules for

the United States District Court for the District of South Carolina, Plaintiffs serve this First Set

of Written Discovery Requests to Defendants.

                                              DEFINITIONS

         In general, words and phrases used in these discovery requests have the meanings

ascribed to them under the Federal Rules of Civil Procedure, the Local Rules of the United States

District Court for South Carolina, and other applicable law. The following specific

terms are defined for purposes of these discovery requests:

      1. “Communication” or “Communications” are defined as the transmittal of information –

including by email. However, for the purposes of these Discovery requests only, it does not

include text messages. Further, these requests only require Defendants to search their email by

using the “Grant Number” listed on Attachment A as a search term – and to produce all

document families responsive to that search. A document family means a group of related
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documents that are considered collectively as a group, including but not limited to an email with

attachments (the email being the “parent” and the attachments being “children”).

   2. “Document” is defined pursuant to Federal Rule of Civil Procedure 34 and

includes, without limitation, written material of whatever kind or nature, whether in draft form,

typed, printed, handwritten, or otherwise produced, including the original or any non-identical

copies of correspondence, meeting minutes, resolutions, directives, memos, and any other

written, printed, or recorded material of any kind known to you or in the possession, custody, or

control of you or anyone acting on your behalf. However, please note that for purposes of these

Discovery requests only, while the term “document” includes electronically stored information, it

does not include emails unless they meet the definition of “Communications” above. However,

documents should not be excluded from your response merely because they may be otherwise

attached to such Communications.

   3. “Describe,” when used with respect to an interrogatory, means to give a complete

and full accounting concerning the matter about which inquiry is made, based on all facts and

information known or reasonably available to you.

   4. “And” and “or” have both conjunctive and disjunctive meanings; “all” and “any”

means both “each” and “every”; the plural shall include the singular and vice versa.

   5. “Musk” means Defendant Elon Musk, in his official capacity as an employee

and/or volunteer for the United States government

   6. “DOGE” means Defendant the United States Department of Government

Efficiency Service established by Executive Order 14158, “Establishing and Implementing the

President’s ‘Department of Government Efficiency,’” on January 20, 2025. “DOGE” includes

the “DOGE Temporary Organization” and Defendant Elon Musk.
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   7. “Describe” when used with respect to an interrogatory, means to provide a narrative

response explaining the facts and events to the extent known, or reasonably available to you.

   8. “Direct” or “directed” means instances in which an employee, officer, or

volunteer instructed, ordered, or otherwise took action to compel a particular course of action by

another.

   9. “DOE” means the United States Department of Energy.

   10. “EPA” means the United States Environmental Protection Agency.

   11. “Freeze” or “Frozen” means the inability – either temporarily or indefinitely - of grant

recipients to access funds, receive reimbursement for services performed under a grant, or

finalize a grant award.

   12. “Freezing Actions” or “Program Freezing Actions” means the actions identified in

Paragraphs 8 and 9 of the Amended Complaint.

   13. “Identify,” when used with respect to an interrogatory, means to state all facts and

information known or reasonably available to you.

   14. “Include” and “Including” do not imply any limitation to the items or kinds of

items enumerated.

   15. “Personnel” means all persons acting on behalf of, as a part of, or pursuant

to the authority of a Defendant. This includes but is not limited to federal employees, special

government employees, contractors, consultants, and volunteers.

   16. “USDA” means the United States Department of Agriculture.

   17. “USDOT” means the United States Department of Transportation.

   18. Unless words have been given a specific definition herein, each word or term used

herein shall be given its usual and/or customary dictionary definition, except where such words
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have a specific custom and/or usage definition in your trade or industry or as relevant to the

subject matter here, in which case they shall be interpreted in accordance with such usual custom

and/or usage definition of which you are aware

                                        INSTRUCTIONS

    1. In answering these discovery requests, you shall comply with the Federal Rules of

Civil Procedure, including, without limitation, Fed. R. Civ. P. 33, 34, and 36, and the Local Rules

of the United States District Court for the District of South Carolina.

    2. These discovery requests are intended to elicit facts, information, and documents

from all persons or entities, agents, attorneys, contractors, employees, experts, insurers,

investigators, representatives, servants, and others who are in possession of or may have obtained

documents and other information for you or anyone acting on your behalf.

    3. Unless specifically stated otherwise in these discovery requests, the time period(s)

encompassed by each discovery request includes January 20, 2025 to the present. Further, these

discovery requests are continuing in nature. Therefore, if any additional, contrary, or

supplemental documents or other information are made available to you, supplemental answers

to these discovery requests must be made as required by Fed. R. Civ. P. 26(e).

    4. Please restate, verbatim, the text of each of the following discovery requests

before providing your response. We will provide an editable version of these discovery requests

upon reasonable advance request.

    5. If more than one copy of a document exists, please produce the original, as well

as every copy on which appears any notation or marking of any sort not appearing on the

original.

    6. Please produce all documents in the possession, custody, or control of you or
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anyone acting on your behalf, or that are otherwise available to you after a reasonably diligent

inquiry, unless any document is claimed to be privileged from discovery. If you contend any

document requested is privileged or immune from discovery, produce a privilege/redaction log

pursuant to the Federal Rules of Civil Procedure within the time provided by the order of the

court authorizing expedited discovery.

   7. Please produce all documents requested in the requests for production within the

time provided by the order of the court authorizing expedited discovery.

   8. When producing documents electronically, please use Bates numbers and provide

a description of the documents. When producing documents electronically, please ensure that

each separate document is its own separate file. This is because documents must be produced

“as they are kept in the usual course of business.” Fed. R. Civ. P. 34(b)(2)(E)(i).

   9. Produce all electronically stored information in native format, with all metadata

intact. Fed. R. Civ. P. 34(b)(1)(C). “Native Format” means the format of ESI in which it was

generated and/or as used by the producing party in the usual course of its business and in its

regularly conducted activities. For example, the native format of an Excel workbook is a .xls or

.xlsx file and the native format of a Microsoft Word document is a .doc or .docx file. “Metadata”

means (i) structured (fielded) information embedded in a native file that describes the

characteristics, origins, usage, and/or validity of the electronic file; (ii) information generated

automatically by operation of a computer or other information technology system when a native

file is created, modified, transmitted, deleted, or otherwise manipulated by a user of such system;

(iii) information, such as Bates numbers, created during the course of processing documents or

ESI for production; and (iv) information collected during the course of collecting documents or

ESI, such as the name of the media device, or the custodian or non-custodial data source from
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which it was collected.

   10. Please make reasonably diligent efforts to obtain responsive documents. If, after

reasonably diligent efforts, you still lack responsive documents, please say so, and describe the

efforts made.

   11. If you think any request for production is ambiguous, please do not refuse to

respond on that ground. Instead, explain in your response how you have interpreted the request

for production.

   12. If you cannot answer an interrogatory in full and you have exercised thorough

diligence in an attempt to secure the information requested, then you must so state. You must

also explain to the fullest extent possible the specific facts concerning your inability to answer

the interrogatory and supply whatever information or knowledge you have concerning any

unanswered portion of the interrogatory.

   13. If your answer to any interrogatory is “unknown,” “not applicable,” or any similar

phrase or answer, state the following: (a) Why the answer to that interrogatory is unknown; and

(b) The efforts made to obtain answers to the particular interrogatory.
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                              REQUESTS FOR PRODUCTION

                                     For Defendant DOGE

   1.   All documents containing lists, charts, or summaries that DOGE personnel or Defendant

Elon Musk have created, compiled, or edited reflecting the planned or completed freeze or pause

of federal contracts, grants, or other legal agreements listed in ATTACHMENT A.

   2. All communications since January 20, 2025 discussing, referencing, or mentioning any

grant identified in ATTACHMENT A.

             For Defendants United States Environmental Protection Agency,
  United States Department of Agriculture, United States Department of Transportation,
                       and United States Department of Energy

    1. All documents containing lists, charts, or summaries that EPA personnel have created,

compiled, or edited reflecting the planned or completed freeze or pause of the federal contracts,

grants, or other legal agreements listed in ATTACHMENT A.

   2. All communications since January 20, 2025 concerning, discussing, referencing, or

mentioning the specific grants identified in ATTACHMENT A, including but not limited to any

communications with members of DOGE.

   3. All documents relied upon in answering any of Plaintiffs’ interrogatories.
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                                     INTERROGATORIES

                                      For Defendant DOGE

   1. Describe in detail the reasons why each grant listed in ATTACHMENT A was Frozen,

   2. For each grant listed in ATTACHMENT A, describe in detail the role of DOGE in the

implementation of the Freezing Actions at EPA, USDA, USDOT, and DOE, including, but not

limited to, identifying the individuals involved and the actions taken on specific dates.

               For Defendant United States Environmental Protection Agency:

   1. Identify the current status of each grant listed in ATTACHMENT A administered by EPA.

   2. Describe in detail the reasons why each grant listed in ATTACHMENT A administered by

EPA was Frozen.

   3. Describe in detail the process that EPA used to identify each grant listed in

ATTACHMENT A administered by EPA that was Frozen, including but not limited to the use of

keywords or search terms.

           a. This description should include a detailed account of how the flowchart described

               in paragraph 244 of the Amended Complaint (ECF No. 23) (and reproduced in the

               Amended Complaint following paragraph 244) was applied to each grant listed in

               ATTACHMENT A administered by EPA.

           b. If keywords or search terms were used to identify grants that have been Frozen by

               EPA, provide the keywords or search terms.

   4. Describe in detail the process that EPA used to Freeze each grant listed in

ATTACHMENT A administered by EPA, including all steps and actions that have resulted in

grants administered by EPA being Frozen.
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   3. Describe in detail any coordination between EPA and DOGE in identifying grants

administered by EPA in ATTACHMENT A to be Frozen by EPA, including but not limited to

identifying the individuals involved and the actions taken.

   4. Describe any coordination or other actions taken with DOGE in implementing the

Freezing Actions.

                    For Defendant United States Department of Agriculture:

   1. Identify the current status of each grant listed in ATTACHMENT A administered by

USDA.

   2. Describe in detail the reasons why each grant listed in ATTACHMENT A administered by

USDA was Frozen.

   3. Describe in detail the process that USDA used to identify each grant listed in

ATTACHMENT A administered by USDA that was Frozen, including but not limited to the use

of keywords or search terms.

           a. If keywords or search terms were used to identify grants that have been Frozen by

               USDA, provide the keywords or search terms.

   4. Describe in detail the process that USDA used to Freeze each grant listed in

ATTACHMENT A administered by USDA, including all steps and actions that have resulted in

grants administered by USDA being Frozen.

   5. Describe in detail any coordination between USDA and DOGE in identifying grants

administered by USDA in ATTACHMENT A to be Frozen by USDA, including a list of

individuals and their roles in identifying

   6. Describe any coordination or other actions taken with DOGE in implementing the

Freezing Actions.
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                 For Defendant United States Department of Transportation:

   1. Identify the current status of each grant listed in ATTACHMENT A administered by

USDOT.

   2. Describe in detail the reasons why each grant listed in ATTACHMENT A administered by

USDOT was Frozen.

   3. Describe in detail the process that USDOT used to identify each grant listed in

ATTACHMENT A administered by USDOT that was Frozen, including but not limited to the use

of keywords or search terms.

           a. If keywords or search terms were used to identify grants that have been Frozen by

               USDOT, provide the keywords or search terms.

   4. Describe in detail the process that USDOT used to Freeze each grant listed in

ATTACHMENT A administered by USDOT, including all steps and actions that have resulted in

grants administered by USDOT being frozen.

           a. This description should include a detailed account of how the March 12, 2025

USDOT Directive (described in the Amended Complaint at paragraphs 224 –231) was

implemented with respect to the grants listed in ATTACHMENT A administered by USDOT.

   5. Describe in detail any coordination between USDOT and DOGE in identifying grants

administered by USDOT in ATTACHMENT A to be Frozen by USDOT, including but not

limited to identifying the individuals involved and the actions taken.

   6. Describe any coordination or other actions taken with DOGE in implementing the

Freezing Actions.
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                     For Defendant United States Department of Energy:

    1. Identify the current status of each grant listed in ATTACHMENT A administered by

DOE.

   2. Describe in detail the reasons why each grant listed in ATTACHMENT A administered by

DOE was Frozen.

   3. Describe in detail the process that DOE used to identify each grant listed in

ATTACHMENT A administered by DOE that was Frozen, including but not limited to the use of

keywords or search terms.

           a. If keywords or search terms were used to identify grants that have been Frozen by

               DOE, provide the keywords or search terms.

   4. Describe in detail the process that DOE used to Freeze each grant listed in

ATTACHMENT A administered by DOE, including all steps and actions that have resulted in

grants administered by DOE being frozen.

   5. Describe in detail any coordination between DOE and DOGE in identifying grants

administered by DOE in ATTACHMENT A to be Frozen by DOE, including but not limited to

identifying the individuals involved and the actions taken.

   6. Describe any coordination or other actions taken with DOGE in implementing the

Freezing Actions.
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                     LIST OF GRANTS
                      ATTACHMENT A
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                                                         ATTACHMENT A – List of Grants



Granting                                                                                                                 Grant
                  Grant Number                           Project Name / Notes                   Grant Program                             Decl. Cite
Agency                                                                                                                   Recipient
                                                                                                Assistance for
DOE               DE-SE0001546                           Assistance for Latest and Zero         Adoption of the          City of          Baltimore
                                                         Building Energy Code Adoption          Latest and Zero          Baltimore        Decl., Ex.
                                                                                                Building Energy                           14-C 1
                                                                                                Codes

                                                                                                Environmental and
EPA               5F-03D33625-0                          Youth Empowerment Strategies 4         Climate Justice Block    Earth Island     Earth Island
                                                         Environmental Justice                  Grant – Community        Institute        Decl., Ex. 8-
                                                                                                Change Grant                              D

                                                                                                Environmental and
                                                                                                                                          Sustainability
EPA               3D30824                                Community Change Grant                 Climate Justice Block    Sustainability
                                                                                                                                          Institute
                                                                                                Grant - Community        Institute
                                                                                                                                          Decl., Ex. 1-
                                                                                                Change Grant
                                                                                                                                          B
                                                                                                Environmental and        Leadership       Leadership
EPA               97T28301                               Inflation Reduction Act -              Climate Justice Block    Counsel for      Counsel
                                                         Environmental and Climate Justice      Grant - Community        Justice and      Decl., Ex. 9-
                                                                                                Change Grant             Accountability   A

                                                                                                Environmental and        Bronx River      Bronx River
EPA               96272300                               Uplifting Bronx Voices for Climate     Climate Justice Block    Alliance         Decl., Ex. 5-
                                                         Change Resilience                      Grant - Community                         B
                                                                                                Change Grant




       1
           Exhibit cites in this column reference exhibits to Plaintiffs’ Memorandum in Support of Motion for Preliminary Injunction.
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                                           ATTACHMENT A – List of Grants


Granting                                                                                                Grant
           Grant Number                   Project Name / Notes                  Grant Program                          Decl. Cite
Agency                                                                                                  Recipient
                                                                                Environmental and
EPA        97T28901                       Huliau o Wai'anae: Turning Points for Climate Justice Block                  Earth Island
                                          a Sustainable Future.                 Grant - Community       Earth Island   Decl., Ex. 8-
                                                                                Change Grant            Institute      B

                                                                                Environmental and
EPA        00A01479                       Elm City Climate Collaborative                                City of New    New Haven
                                                                                Climate Justice Block
                                                                                                        Haven          Decl., Ex.
                                                                                Grant - Community
                                                                                                                       18-C
                                                                                Change Grant



                                          Climate Resilience Starts at Home:    Environmental and                      Madison
EPA        00E05005                       Growing Energy Efficiency, Indoor     Climate Justice Block   City of        Decl., Ex.
                                          Air Quality, and Green Jobs in        Grant - Community       Madison        16-A
                                          Madison and Fitchburg, Wisconsin      Change Grant

                                                                                Environmental and
                                                                                Climate Justice Block                  New Haven
           00A01441                       Electrify New Haven                   Grant - Government      City of New    Decl., Ex.
EPA                                                                             to Government Grant     Haven          18-A

                                                                                Environmental and                      Baltimore
EPA        95336801                       DPW YH20+ Expansion II                Climate Justice Block   City of        Decl., Exs.
                                                                                Grant - Government      Baltimore      14-C, 14-D
                                                                                to Government Grant
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                                             ATTACHMENT A – List of Grants


Granting                                                                                                Grant
             Grant Number                   Project Name / Notes                  Grant Program                          Decl. Cite
Agency                                                                                                  Recipient
                                                                                  Environmental Justice
EPA          03D03424                       North Mecklenburg Air Monitoring      Collaborative         CleanAIRE NC CleanAIRE
                                            Network                               Problem-Solving                    NC Decl.,
                                                                                                                     Ex. 6-B
                                                                                  Environmental Justice Bronx River  Bronx River
EPA          96229424                        Partnership for Urban Waterways in   Collaborative         Alliance     Decl., Ex. 5-
                                            Bronx and Lower Westchester           Problem-Solving                    D
                                            Counties, New York
                                                                                  Climate Pollution                      New Haven
EPA          00A01475                       Union Station Area Thermal Energy     Reduction Grant       City of New      Decl., Ex.
                                            Network                               Program               Haven            18-B

                                                                                  Solid Waste
EPA          95335901                       Bowley’s Lane Composing Facility      Infrastructure for    City of          Baltimore
                                                                                  Recycling Grant       Baltimore        Decl., Ex.
                                                                                  Program                                14-A

                                                                                  Innovative Nutrient                    Alliance for
EPA / NFWF   0602.24.082555                 Accelerating Clean Water and          and Sediment          Alliance for the the
                                            Conservation Outcomes in              Reduction Grants      Shenandoah       Shenandoah
                                            Shenandoah Valley (VA)                Program               Valley           Decl., Ex. 4-
                                                                                                                         E
                                                                                  Agricultural
USDA         AM22FFWPA0013                  Collaborative Farm Worker and         Marketing Service     Pasa
                                            Meatpacking Worker 14-State           Farm and Food                          Pasa Decl.,
                                            COVID Relief Fund Project             Worker Relief                          Ex. 12-B

                                                                                  American Rescue
                                                                                                                          RAFI-USA
                                            Subaward with National Young          Plan Technical        RAFI-USA
USDA         2022-70416-37195                                                                                            Decl., Ex.
                                            Farmers Coalition                     Assistance Investment
                                                                                                                         13-H
                                                                                  Program
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                                        ATTACHMENT A – List of Grants


Granting                                                                                             Grant
           Grant Number                Project Name / Notes                   Grant Program                         Decl. Cite
Agency                                                                                               Recipient

USDA       NR225F48XXXXC002            Organic Technical Staffing             Conservation                          Marbleseed
                                       Assistance                             Stewardship Program: Marbleseed       Decl., Ex.
                                                                              Organic Technical                     10-C
                                                                              Assistance Grant

                                                                              Conservation                          Alliance for
           NR223A750003C062            Subaward with RAFI-USA                 Technical Assistance   Alliance for   Agriculture
USDA
                                                                              Cooperative            Agriculture    Decl., Ex. 3-
                                                                              Agreement                             D

                                                                              Distressed Borrower
                                                                                                                    RAFI-USA,
                                       Distressed Borrower Technical          Assistance Network
USDA       FSA24CPT0014403                                                                           RAFI-USA       Decl. Ex. 13-
                                       Assistance                             Program
                                                                                                                    D
                                       In Pennsylvania to help improve
                                       grazing success and associated         Environmental
USDA       NR242D37XXXXG002            economic, environmental, and           Quality Incentives     Pasa           Pasa Decl.,
                                       social co-benefits, including animal   Program –                             Ex. 12-D
                                       health, soil health, carbon            Conservation
                                       sequestration, cost savings, water     Innovation Grants
                                       quality


                                                                              Equity in
                                       Expanding RAFI-USA’s                   Conservation                          RAFI-USA
USDA       NR243A750003C062
                                       Conservation Resources for Resilient   Outreach Cooperative   RAFI-USA       Decl. Ex. 13-
                                       Farms Project                          Agreement                             B
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                                        ATTACHMENT A – List of Grants


Granting                                                                                            Grant
           Grant Number                Project Name / Notes                  Grant Program                           Decl. Cite
Agency                                                                                              Recipient
                                        Deliver outreach and education
                                       programming to increase awareness     Equity in              Organic
USDA       NR243A750003C045            of and participation in NRCS          Conservation           Association of   OAK Decl.,
                                       programs, services and leadership     Outreach Cooperative   Kentucky         Ex. 11-B
                                       opportunities in agriculture and      Agreement              (OAK)
                                       natural resource conservation in
                                       Kentucky.
                                       Increase Land, Capital, and Market
                                       Access for Underserved Farmers on a   Increasing Land,                        Agrarian
USDA       FSA24GRA0011586             Mid-size National Landscape using     Capital, and Market    Agrarian Trust   Trust Decl.,
                                       New Model, Agrarian Commons           Access Program                          Ex. 2-A

                                                                             Increasing Land,                        RAFI-USA
USDA       FSA24CPT0013706             Gaining New Ground                    Capital, and Market    RAFI-USA         Decl, Ex. 13-
                                                                             Access Program                          F
                                                                             Increasing Land,                        Alliance for
                                       Gaining New Ground - Subaward         Capital, and Market    Alliance for     Agriculture
USDA       FSA23CPT0013706
                                       with RAFI-USA                         Access Program         Agriculture      Decl., Ex. 3-
                                                                                                                     B.
                                       Expands markets for climate-smart
                                       dairy, beef and poultry industry in   Partnerships for       Conservation     Cons.
USDA       NR233A750004G045            DE, NC, NJ, NY, MD, OH, PA, SC,       Climate-Smart          Innovation       Innovation
                                       TN, VA and WV and supports the        Commodities            Fund             Fund Decl.,
                                       implementation and monitoring of      Program                                 Ex. 7-A
                                       climate-smart practices.

                                                                             Partnerships for       Alliance for the Alliance for
USDA       NR233A750004G045            Subaward with Conservation            Climate-Smart          Shenandoah       the
                                       Innovation Fund                       Commodities            Valley           Shenandoah
                                                                             Program                                 Decl., Exs. 4-
                                                                                                                     A, 4-B
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                                        ATTACHMENT A – List of Grants


Granting                                                                                             Grant
           Grant Number                Project Name / Notes                    Grant Program                          Decl. Cite
Agency                                                                                               Recipient
                                       Expands climate-smart wheat, grain,
                                       specialty and organic crop markets in   Partnerships for
USDA       NR243A750004G010            IA, IL, IN, KS, KY, MI,                 Climate-Smart         Marbleseed       Marbleseed
                                       MN, MO, ND, NE, OH, SD, TN, WI          Commodities                            Decl., Ex.
                                       and supports farmer CS practice         Program                                10-B
                                       implementation and monitoring.
                                       Expands markets in the Eastern US
                                       for climate-smart dairy, grain,
USDA       NR233A750004G025            livestock, organic and specialty        Partnerships for      Pasa             Pasa Decl.,
                                       crops; supports farmer and rancher      Climate-Smart                          Ex. 12-A
                                       climate-smart practice                  Commodities
                                       implementation and monitoring           Program

                                       Expand markets for climate-Smart
USDA       NR233A750004G092            grass-fed lamb, grass fed beef, corn,   Partnerships for      Organic          OAK Decl.,
                                       soybeans, small grains, produce,        Climate-Smart         Association of   Ex.11-D
                                       dairy, agroforestry and hemp in         Commodities           Kentucky
                                       Kentucky; supports socially             Program               (OAK)
                                       disadvantaged farmers
                                                                               Partnerships for
                                       Subaward with A Greener World           Climate-Smart                          RAFI Decl.,
USDA       NR233A750004G080                                                                          RAFI-USA
                                       (AGW)                                   Commodities                            Ex. 13-J
                                                                               Program

                                                                               Rural Development
USDA       FSA23CPT0013667             Resources for Resilient Farms           Policy Cooperative    RAFI-USA         RAFI-USA
                                                                               Agreement                              Decl, Ex.

USDA       FSA23CPT0012856             Collaborative Approaches for Impact     Urban Agriculture     Pasa             Pasa Decl.,
                                       for Philadelphia Urban and              and Innovative                         Ex. 12-C
                                       Innovative Agriculture                  Production Grant
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                                        ATTACHMENT A – List of Grants


Granting                                                                                          Grant
           Grant Number                Project Name / Notes               Grant Program                         Decl. Cite
Agency                                                                                            Recipient

                                                                          Urban and                             San Diego
USDA       24-DG-11052021-228          Ready, Set, Grow San Diego         Community Forestry      City of San   Decl., Ex.
                                                                          Grant                   Diego         20-A



                                                                          Urban and                             Columbus
USDA       23-DG-11094200-363          Subaward of Ohio Department of     Community Forestry      City of       Decl., Ex.
                                       Natural Resources                  Grant                   Columbus      15-A

                                                                          Active Transportation
USDOT      N/A                         East Nashville Spokes              Infrastructure          City of       Nashville
                                                                          Investment Program      Nashville     Decl., Ex. 17


                                                                          Charging and Fueling
USDOT      N/A                         Electrify Music City               Infrastructure Grant    City of       Nashville
                                                                          Program                 Nashville     Decl., Ex. 17
